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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                           District of
                                                       __________      Massachusetts
                                                                    District of __________
In re Ex Parte Application of Clara Moussa Boustany
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                       President and Fellows of Harvard College, a/k/a Harvard Corporation
To:

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           SEE APPENDIX A


 Place:                                                                                 Date and Time:
          37 Oldfield Dr., Suite 201
          Sherborn, MA 01770

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                                         INSTRUCTIONS

        1.       Unless otherwise specified, the relevant time period for these requests is January

1, 2018, through the present.

        2.         e terms “you,” “your” and “Harvard” shall mean the President and Fellows of

Harvard College, a/k/a Harvard Corporation, its aﬃliates, direct or indirect subsidiaries,

branches, and any of their respective oﬃcers, owners, agents, and any other persons acting or

purporting to act on their behalf.

        3.         e term “Fadi Boustany” refers to Fadi Boustany, an individual born on

November 10, 1967, of Swiss and Lebanese nationality, as well as any of his agents, attorneys,

accountants, consultants, representatives, assignees, and any other individual or entity purporting

to act on his behalf.

        4.         e term “Fadi Boustany Entity” refers to entities of which Fadi Boustany is or

was a beneficial owner, or trusts of which Fadi Boustany is a settlor or beneficiary, including the

Metropole Group, the Boustany Foundation, and Solidere SAL.

        5.         e term “Metropole Group” refers to Metropole Group S.A.M., its parents,

aﬃliates, direct or indirect subsidiaries, and any of their respective oﬃcers, owners, agents, and

any other persons acting or purporting to act on their behalf.

        6.         e term “Boustany Foundation” refers to the foundation identified and described

at https://www.hbs.edu/mba/financial-aid/tuition-assistance/external-funding/Pages/international-

students.aspx.




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       7.           e full text of the Uniform Definitions in Discovery Requests set forth in of

Local Civil Rule 26.5 of the Local Rules of the United States District Courts for the District of

Massachusetts is incorporated herein by reference.

       8.       Produce all documents described below which are in your possession, custody, or

control, including those documents in the possession, custody, or control of your present or

former attorneys or counsel, advisors, investigators, accountants, employees, or other agents, as

well as any other persons or entities acting on your behalf, wherever located and in whatever

form they may exist.

       9.       Produce all documents in their entirety, without deletion or excision, and along

with any attachments, regardless of whether you consider the entirety of such documents or

attachments to be responsive to any request.

       10.      Produce all documents maintained or stored electronically in native, electronic

format with all metadata intact.

       11.      All documents produced shall be Bates stamped to facilitate identification and

future reference.

       12.      In objecting to any request, identify the specific grounds for the objection and the

part of the request objected to, and state with specificity which documents will be withheld, and

which documents will be produced notwithstanding such objection.

       13.      If you withhold or redact any document responsive to these requests under a claim

of privilege, provide the information set forth in Local Civil Rule 34(e) of the Local Rules of the

United States District Court for the District of Massachusetts.

       14.      If in answering these requests you claim any ambiguity in interpreting either a

request or a definition or instruction applicable thereto, you shall not use such claim as a basis for



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refusing to respond. Instead, you shall set forth as part of your response to such request the

language deemed to be ambiguous and the interpretation chosen to be used in responding to the

request. You are encouraged to reach out to the attorney who signed this Subpoena to discuss and

attempt to resolve any ambiguity in advance of your response to these requests.

       15.     If you are unable to respond fully to any request, respond to the extent possible

and specify the reason(s) for your inability to respond in full. If you have no documents

responsive to a particular request, so state.

       16.     If any responsive document has been destroyed, set forth the contents of the

document, the reason for and date of its destruction, the name of the person who authorized its

destruction, and the request(s) to which it was responsive. If any responsive document is

otherwise not available or accessible, provide a suﬃcient explanation of the reason(s) therefor.




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                                 DOCUMENTS REQUESTED

       1.       All documents concerning Fadi Boustany.

       2.       All documents concerning the Boustany Foundation.

       3.       All documents concerning any Fadi Boustany Entity.

       4.       Records of transactions involving Fadi Boustany, the Boustany Foundation, or

any Fadi Boustany Entity.

       5.       Documents suﬃcient to establish the total amounts contributed to Harvard or any

Harvard student, directly or indirectly, through scholarships, endowments, or otherwise, by Fadi

Boustany, the Boustany Foundation, or any Fadi Boustany Entity from 2000 through and

including the present.

       6.       Reports or other documents containing financial information concerning Fadi

Boustany, the Boustany Foundation, or any Fadi Boustany Entity.

       7.       Documents concerning the source of funding of the Boustany MBA Harvard

Scholarship.

       8.       Documents concerning the transmission of funds to Harvard or any Harvard

student by virtue of any award of the Boustany MBA Harvard Scholarship.




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